Case 6:18-cV-00237-RP-.]CI\/| Document 1-2 Filed 08/17/18 Page 1 of 5

UNI'I`ED STATES DISTRIC'I` COURT
WESTERN DISTRICT OF TEXAS
WACO DIVISION

CITIZENS STATE BANK,
P|aIntifT`,

v. CIVIL ACTION NO.

MICHAEL SCO'I'[` LESLIE, MONTAGE 6118'€"'237
MORTGAGE, I_.LC, SNOWBERRY
SETTLEMENTS, LLC, MORTGAGE
CAPITAL MANAGEMENT, LLC,
TRAVELERS BOND AND SPEClALTY
[NSURANCE, TRAVELERS CASUALT\’
AND SURETY COMPANY OF AMERICA,
and THE TRAVELERS [NDEMNITY
COMPANY,

GOJQOBOOBGO'JWBOO'JGO’§&O'JW’JDO=¢OBGOBWBWIBOIWIEO=

Defendants.

EXHIBIT 2
Citations Served on Travelers

Case 6:18-cV-00237-RP-.]Cl\/| Document 1-2 Filed 08/17/18 Page 2 of 5

(`/.)

CSC

 

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. .. T lttal N be : 18576074

Notrce of Servrce of Process "'S§{L' Proca`é'§`as='aanazo1a
Prlmar;ir Contsct: Pan'te|a Beyer

The Trave|ers Companies, |nc.
385 Washington Street. 92?5-LC12L
Saint Paui. MN 55102

 

Entity:

Entity Servsd:

Tltle of Actlon:
Docurnent{s} Type:
Nature of Actlon:
Courti`Agency:
CaseiReference No:
Jurisdlction Senred:
Dats Senred on CSC:
Answer or Appoaranco Due:
Origlnally Senred On:
How Served:

Sender tnformaiion:

Traveiers Casua|ty and Surety Company
Entity |D Number 2317366

Travelers Bond and Specialty insurance
Citizens State Banl< vs. Michael Scott Leslie
Summons and Amended Complaint
Contract

McLennan County District Courtl Texas

201 7-40?1 -5

Texas

OBH 5!20‘| 8

10:00 am Monday next following the expiration of 20 days after service
CSC

Personai Service

Elizabeth M. Fraley
2 1 4-76 1 -6460

 

information contained on this transmittal form ls for record keepingl notification and forwarding the attached document(s]. lt does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potentiai delay. please do not send your response to CSC

251 Litt|e Falis Drive,iii&lrnington. Deiaware 19308-1674 (888)690-2882 | sop@cscgiooai.com

Case 6: : P-.JC|\/| Document 1-2 Filed 08/17/18 Page 3 0i5
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AUii 15 2015

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'rHE sure or rexas

Cause No: 2017-4071-5

TO: TRAVELERB BOND AND SPECIALTY INSURANCE, AN INSURANCE COMPANY, DEFENDANT - BY BERVING

ITS REGIBTERED AGENT, CORPORATION BERVICE COMPANY, 211 EAST 'TTH STREET, SUITE‘GZO, AUBTIN,
TEXAB 78701

GREET\NGS:

?OU AR.E HEREB¥ COMM.ANDED to appear before the Honorable District Court below, of McLennan County, ’i‘exas,
at the Courthouse of said Count'y located at 501 Washington Avenue in Waco, Texas, by filing a written answer with
the Clerk ol` the Court, at or before 10 o'clock A.M. of the Monday next after the expiration of twenty days after the
date of service of this citation, to the pleading described below, and you are hereby served with a copy of Piaintifi’s
Discovel'y described bciow, to which you must"file a written answer as required by law in the cause number described
below on the docket of said court, and styled,

PARTIES TO THIS ACTION ARE:

crrszNs sure BANK, n reams stare mmc Plaincirr
vs.

warrant sco'r'r LEsLte, A Nomsmeu'r NAT!IRAL ransom

MonTAGe Mon'roacs, LLc, n mims Lmrren LIABu,rrY coMPANY.

snowBERnY se'rTLEMENTs, LLc, A FoneroN, noNRESmENT

coLoRAno um'ren LIABILITY coMPANY, MoR'rGAGF. empth

mNAoEMEN'r, LLc, A Fomnon, NoNREsmeN'r coLoRAno LIMrrED

Lusn.rrY coMPANY, 'rluvel.nns conn m sweer msuRANcE,

AN msURANcE coMPANY, 'rRAvEr.ERs eastmer ANn sune'rY comm

or AMERICA, AN msURANce coMPAmr, 'rne mvELERs mnEMMTY

cQMPANY, AN INsuRANcE comm Derendanrs

Court: 414TH J'U`DIClAL DISTRICT
Picading: PL.AINTIFF°S ’I'HIRD AMENDED ORIGlNAL PETITlON
Pleading File Date: J‘ULY 30, 2018
Discovery Requests: R.EQUEST FOR DIBCLOBURE
Cause No: 2017-40?1-5
ND'!YCE

You have been eued. You may employ nn attorney. .{f you or your attorney does not file n written
answer with the clerk who issued this citation by 10:00 n.m. on the Monduy next following the expiration of
twenty plays after you were served this citation and the above pleading and clierc\orrer_r,'l n default judgment
may be taken against you.

The officer executing this citation shall promptly serve the same according to requirements of iaw, and the mandates
hereof`, and make due return as the law directs.

iBBUED AND GIVEN UNDER MY I-I.AND AND BEAL OF OFFICE, at Waco, McLennan County, Texas.
issue Date: AUGUST 14, 2018.

ELIZABETH M. FRALEY
901 MAIN STREET
BUITE 6300

DALLAB, TBXAS 75202

CHR!BTOPHER B, TROWBRIDGE
3232 MCKINN“E? AVENUE

SUITE 1400

DALLAB, TEXAS 75204
Attorneys for Plaintifi'

 

Case 6:18-cV-00237-RP-.]Cl\/| Document 1-2 Filed 08/17/18 Page 4 of 5

(`/J

CSC

 

 

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Notice of Service of P rocess T”S§$'§Fl§e`;';`i’¢i='i>§§§§ii§
Prlmary Contact: Pameia Beyer

The Travelers Companies, lnc.

385 Washington Street, 9275-LC12L

Saint Paull MN 55102
Entity: The Travelers indemnity Company

Entity lD Number 2317-165

Entity Served: The Travelers indemnity Company
Tltle of Action: Citizens State Bank vs. Michael Scott Leslie
Document{s} Type: Summons end Amended Complaint
Nature of Actlon: Contract
CourtiAgency: Nchennan County District Court. Texas
CaseiReference No: 2017-4071-5
Jt.lrlsdlctlon Served: Texas
Date Served on CSC: 08:'15!2018
Answer or Appearance Due: 10:00 am Monday next following the expiration of 20 days after service
Originaily Served Orl: CSC

How Served:

Sender lnfonnation:

Personal Service

Elizabeth I'vi. Fraleyr
214-761-6460

 

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To avoid potential delay, please do not send your response to CSC

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crrA'rroN @ / ;00/" rossi 16

BPECIAL DELNERY
THE STATE OF TEX.AS
Cause No: 2017-4071-5

TO: THE TRAVELERB lNDEMNI‘I'Y COMPANY, AN INSURANCE COMPANY, DEFENDANT- BY BERVING ITB
REGISTERED AGENT, DORPORATION SERVICE CO`MPANY, 211 EAST TTI-I BTREE‘I', SUITE 620, AUSTIN,
TEXAS 78701

GREETINGB: _

YOU AR.E HEREBY COMM.ANDED to appear before the Honorabie District Court: below, of McLennan County, Texas,
at the Courthouse of said County located at 501 Washington Avenue in Waco, Texas, by filing a written answer with
the Clerk of the Court, at or before 10 o'ciock A.M. of the Monday next after the expiration of twenty days after the
date of service of this citation, to the pleading described beiow, and you are hereby served with a copy of Pls.intii'f`s
Disco.very described beiow, to which you must tile a written answer as required by law in the cause number described
below on the docket of said court, and styled,

PARTIES TO THIS ACTION ARE:

CITIZENS BTATE BANK, A TEXAS STATE BANK Piaintii`f
VS.

MICH.AEL SCOTT LEBLIE, A NONR.ESIDEN'I' NATUR.AL PERSON,

MONTAGE MORTGAGE, LLC, A TEXAS LIM!TED LI.ABILITY OOMPANY,

SNOWBERRY SETTLEMENTB, LLC, A FOREIGN, NONREBIDENT

COLORADO LIMITED LIABILITY COMPm, MDRTGAGE CAPITAL

MANAGEMENT, LLC, A FOREIGN, NONRESIDENT COLORADO L[MITED

LIABILI‘I'Y COMPAN"I, TRAVELERB BOND AND BPECIA.LTY INSURANCE,

AN fNSURANCE COMPANY, TRAVELERS CABUALTY A.ND SURET'Y COMPAN'Y

OF AMER]ZCA, AN INSURANCE COMPANY, THE TRAVELERB INDEMNI‘I'Y

COMPANY, AN INSURANCE COMPANY Defendant.s

Court: 414TH JUDICIAL DISTRICT
Pieading: PLAINTIFF'S THIRD AMENDED ORIGINAL PETITION
Pleading File Datc: JULY 30, 2018
Discovery Requests: REQUEBT FOR DISCLOBURE‘
Cause No: 2017-40?1-5
NOTICE

You have been sued. you may employ an attorney. If you or your attorney does not file a written
answer with the clerk who issued this citation by 10.'00 a.m. on the Monday next following the expiration of
twenty days after you were served this citation and the above pleading and discovery, a default judgment
may be taken against you.

The officer executing this citation shall promptly serve the same according to requirements of iaw, end the mandates
hereof, and make due return as the law directs.

ISSUED A.ND GIVEN UNDER MY HAN'D AND SEAL OF' OFFlCE, at Waco, Mcl.ennart County, Texas.
Issue Date: AUGUST 14, 2018.

     
 

ELIZABETH M. FRALEY Jo - ' .G m ¢, Distri
901 MAIN ernest so s '
BUITE 6300 ' W. l ir _.

ll -'

DALLAB, TEXAS 75202

  

CHRISTOPHER B. TROWBRIDGE
3232 MCKINNEY AVENU'E
SUITE 1400

DALLAS, TEXAB 75204
Attomeys for Plainti.t`f

